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                                                                 April 17, 2017

Via ECF

Senior Judge I. Leo Glasser
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                                                 Re:     Campbell v. Drink Daily Greens, LLC
                                                         Civil Action No. 1:16-cv-07176

Dear Senior Judge Glasser:

         This office represents the plaintiff in the above-referenced action. This letter-motion is written
pursuant to Part I(E)                                         . As indicated in the prior correspondence
from this office, dated April 3, 2017, the undersigned contacted opposing counsel by phone to arrange
a briefing schedule for defendant s motion to dismiss.

         The parties then communicated by email, wherein the undersigned sought agreement on a
briefing schedule to be endorsed by the Court. Plaintiff provided a proposed schedule to defendant
which would have set a date for defendant s filing in accordance with the rules, afforded plaintiff thirty
(30) days to oppose and allotted defendant twenty (20) days to reply. The timeframes suggested by
this office were consistent with recent briefing schedules approved by your Honor for motions to
dismiss.

         Defendant rejected this proposal and advised plaintiff to seek relief from the Court. Plaintiff
interpreted defendant s unwillingness to consent to the proposed briefing schedule as based on a desire
to litigate this action as expeditiously as possible. There will be no prejudice to defendant from
adherence to a briefing schedule as set forth herein, as this case is in its early stages.

       Plaintiff notes that upon opposing counsel s entry to this action, it unequivocally and promptly
granted a requested thirty (30) day extension and excused defendant s lack of response during the time
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required by the summons. Such conduct was not merely out of professional courtesy but because
plaintiff intends to resolve this action on its merits.

        Defendant                   submitted via ECF on March 30, 2017, prior to approval of a briefing
schedule by this Court. Rule IV(B). There have been no previous requests for adjournments or
extensions of plaintiff s time to file opposition. Plaintiff respectfully requests thirty (30) days to submit
opposition and that defendant be provided twenty (20) days to submit reply papers. Plaintiff further
requests that this Court deem defendant                    dismiss filed on the date it approves a briefing
schedule for defendant s motion to dismiss. Thank you.

                                                          Very truly yours,


                                                           /s Joshua Levin-Epstein
                                                          Joshua Levin-Epstein


cc:     Via ECF
